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                        D I S T R I CT O F M A S S A C H US E T T S


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                                  *
LEE HUTCHINS, SR.                 *
         Plaintiff,               *
                                  *                 NO. 16-cv-30008-NMG
      v.                          *
                                  *
DANIEL J. MCKAY, FELIX M.         *
ROMERO, THOMAS HERVIEUX, and *
THE CITY OF SPRINGFIELD           *
                                  *
         Defendants               *
                                  *
                                  *
* * * * * * * * * * * * * * * * * *

                      PLAINTIFF’S ATTORNEYS’ FEE PETITION

     Now comes the Plaintiff in the above captioned matter and petitions this Honorable Court

  pursuant to 42 U.S.C. 1988 (b) for attorneys’ fees.

     The Plaintiff seeks the following award:

  1. Attorney’s fee for the work of Attorney David P. Hoose: 97.2 hours at $400.00 per hour

     = $38,880.00.

  2. Attorney’s fee for the work of Attorney Luke Ryan: 347.9 hours at $325.00 per hour =

     $113,067.50.

  3. Attorney’s fee for the work of Attorney Howard Sasson: 21.1 hours at 300.00 per hour =

     $6,330.00

  4. Attorney’s fee for the work of Attorney Samantha LeBoeuf: 171.5 hours at $175.00 per

     hour = $30,012.50.

  5. Fees for the work of Samantha LeBoeuf as a law student/paralegal, prior to being

     admitted to the practice of law: 53.1 hours at $100.00 per hour = 5,310.00.
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   6. Costs of Litigation: $8,392.75

Total Award Requested: $201,992.75

   The following exhibits are attached to the accompanying Memorandum in Support of this

   Petition:

          A. Email chain dated December, 2016 concerning mediation

          B. Affidavit of Attorney Tani Sapirstein;

          C. Affidavit of Attorney Hector Pineiro;

          D. Affidavit of Attorney William C. Newman;

          E. Affidavit of Attorney David P. Hoose;

          F. Affidavit of Attorney Howard Sasson;

          G. Affidavit of Attorney Luke Ryan;

          H. Affidavit of Attorney Samantha LeBoeuf;

          I. Itemized time records of Plaintiff’s counsel; and

          J. Itemized cost and expense listing.



          THE PLAINTIFF



          By: /s/ Luke Ryan
          LUKE RYAN, BBO# 664999
          DAVID HOOSE, BBO# 239400
          SASSON, TURNBULL, RYAN & HOOSE
          100 Main Street, 3rd Floor
          Northampton, MA 01060
          (413) 586-4800
          lryan@strhlaw.com




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                                       CERTIFICATE OF SERVICE

       I, LUKE RYAN, hereby state that the foregoing was filed through the ECF system and

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) on February 8, 2019.


                                                        /s/ Luke Ryan, Esq.
                                                       BBO#664999
                                                       Sasson, Turnbull, Ryan & Hoose
                                                       100 Main Street, 3rd floor
                                                       Northampton, MA 01060
                                                       (413) 586-4800
                                                       lryan@strhlaw.com




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